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            IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Thomas Sierra,                             No. 18 C 3029

       Plaintiff,                           Hon. John Z. Lee,
                                            District Judge
 v.
                                            Hon. M. David Weisman,
 Reynaldo Guevara et al.,                   Magistrate Judge

       Defendants.


                 Plaintiff’s Motion to Compel Production of
             Monell Homicide Files Without Improper Redactions

      Plaintiff Thomas Sierra, through his undersigned counsel, respectfully moves

to compel the production of Area 5 homicide files without improper redactions of

information pertaining to juveniles. In support of the motion, Plaintiff states as

follows:

                                   Introduction

      This Court has twice ordered Defendant City of Chicago to produce Area 5

investigative and RD files. Dkt. 154 (ordering Area 5 homicide files from 1991

through 1995); dkt. 166 (denying the City’s motion to reconsider its ruling). The

purpose of this production is to adjudicate Plaintiff’s Monell theories that the City

maintained    widespread   customs    of   suppressing   exculpatory   evidence   and

manipulating eyewitness identifications.

      The City, however, has elected to produce almost 100 of these files in a format

that renders them unusable for the purposes the Court has ordered. Specifically, the

City has extensively redacted the files to remove information pertaining to juveniles,
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resulting in homicide files that are unintelligible. The City’s supposed justification

for these redactions—that they are mandated by the Illinois Juvenile Court Act—is

simply incorrect as a matter of law, as Plaintiff is an interested party entitled to

inspect juvenile records in this federal proceeding. Any concerns about the

confidentiality of this information under Illinois law are resolved because the City

has marked the homicide files as confidential pursuant to the protective order in this

case.

         Because the City has refused requests to provide usable versions of these

documents, Plaintiff respectfully moves for entry of an order compelling the

production of RD and investigative files without redactions for juvenile information.1

                                        Background

A.       The Court’s orders on Monell discovery

         Plaintiff moved to compel the production of Area 5 homicide and CR files for

the years leading up to the homicide investigation that resulted in Plaintiff’s wrongful

murder conviction. Dkt. 138. The Court granted the motion over the City’s strenuous

objections, ordering the production of those files from the years 1991 through 1995.

Dkt. 154. The Court noted that the homicide files were relevant to Plaintiff’s Monell

claims in multiple ways, including “through comparison of documents produced

during various stages of the underlying criminal proceedings.” Id. at 1. And the Court

further explained that “[t]he fact that plaintiff has no other ready means of gathering

this type of information and his Monell claim raises questions that are important not



1   The particular RD numbers corresponding to redacted files are listed in Exhibit A.


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only to him but to the public-at-large also justifies the burden involved in the

discovery requested.” Id. at 2.

        In granting the motion, however, the Court limited the use of these documents.

It held that Plaintiff was not permitted to “re-investigate the homicide cases.” Id. at

2. By prohibiting further investigation, the Court restricted Plaintiff to relying on

information contained on the face of the documents.

        The City moved for reconsideration of the ruling, dkt. 156, which the Court

denied, dkt. 166. The Court then ordered the City to conduct rolling production of

Investigative and RD files to be completed by November 30, 2020. Dkt. 195.

B.      The City’s deficient production and Plaintiff’s efforts to confer

        The City failed to meet the Court’s deadline and instead provided what it

represented was the last of the homicide files on January 22, 2021. See dkt. 233.2

        Upon review of the files, Plaintiff discovered that almost 100 of the homicide

files, or approximately one fifth, had been heavily redacted to remove information

pertaining to juveniles. These redactions make it difficult or impossible for Plaintiff

to use the files for the purposes authorized by the Court. For example, the redaction

of juveniles’ names in many cases obscures who viewed, participated in, or was

selected in lineup procedures. And these redactions also make narratives about the

homicide investigation, whether in detectives’ supplementary reports or in recorded

witness statements, indecipherable.




2 Even then, the City’s production contained noticeable gaps and errors that are the subject
of ongoing conferral and which are not yet ripe for this Court’s resolution.


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       Plaintiff requested that the City re-produce these files, hoping to resolve the

issue without Court intervention. On March 16, 2021, Plaintiff’s counsel notified the

City of the deficiencies in its production and requested a prompt response on the

specific issue of juvenile redactions to avoid unnecessary delay if motion practice

proved necessary, given the impending fact discovery deadline in this case. See Ex. B

(Mar. 16, 2021 letter from J. Hazinski to E. Rosen, et al.) at 2–3. The City failed to

respond promptly despite repeated requests. Ex. C (Mar. 26, 2021 email from J.

Hazinski to E. Rosen, et al.). Finally, after further delay, the City stated that it would

not re-produce the files, necessitating this motion. Ex. D (Apr. 5, 2021 email from E.

Rosen to S. Art, et al.).

                                      Argument

       The extensive redactions of juvenile information prevent Plaintiff from

analyzing the homicide files to litigate his Monell claims. And without recourse to

conduct independent investigation, Plaintiff cannot use these files at all. The

redactions thus flout the Court’s rulings ordering the production of the homicide files.

Moreover, these redactions are legally baseless; designating the files as confidential,

as the City has done, accounts for any problems of confidentiality. In addition,

numerous courts in this District have held that “interested parties” in federal

litigation are authorized to inspect juvenile records that might otherwise be covered

by the Illinois Juvenile Court Act. Because the City’s redactions are legally improper

and serve only to undermine this Court’s repeated discovery orders, Plaintiff

respectfully requests that the Court compel the re-production of the homicide files




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listed in Exhibit A to remove the excessive and improper redactions the City has

imposed.

A.      The City’s redactions render the homicide files unusable

        Homicide files are useful in this litigation only if the parties can figure out

what they say. The City’s redactions of juvenile information make this task

exceedingly difficult and in many cases impossible. By removing information

pertaining to juveniles, such as their names and nicknames, from every report—

including typed supplementary reports, arrest records, witness statements, and

handwritten notes—the City has defeated the purpose of producing these files. In

particular, the redactions cover up information revealing patterns of evidence

suppression and fabrication that Plaintiff is entitled to discover.

        One example illustrates the point. In the case of Rivera v. Guevara, No. 12 C

4428 (N.D. Ill.), the City produced investigative and RD files pertaining to the 1991

Edwin Fred homicide investigation. Upon examining the investigative file, it became

clear that there were two contradictory reports of a single lineup procedure—one in

which it was reported that a witness named Aby Gonzalez made no identification,

and one stating that Gonzalez identified an alternate suspect named Bryan Johns.

See Ex. E (Lineup reports from RD No. P272087 produced in Rivera).3 Only the former

report, signed by Detective Guevara, was disclosed to the criminal justice system;

neither the State’s Attorney nor the Public Defender received the unsigned lineup

report showing that Gonzalez had identified Johns. This suppression of exculpatory


3 Though these files bear a confidentiality stamp, they became public when they were
introduced at the Rivera trial in 2018.


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       fabrication, or that implicates undisclosed alternative suspects,
       suggesting suppression. Redactions of juvenile information in written
       statements make it impossible in many cases to cross-check the
       information contained in such statements. See, e.g., Ex. I

      If detectives conducted unduly suggestive photo arrays or lineups with
       juveniles, the City’s redactions black out those photographs and prevent
       Plaintiff from assessing the legitimacy of those identification
       procedures. See, e.g., Ex. J

      Handwritten notes by detectives, including General Progress Reports
       (GPRs), may contain exculpatory or impeaching information or show
       that detectives took investigative steps that were not properly
       documented in typed reports pursuant to CPD policy. The City’s
       redactions would obscure such information in the GPRs. See, e.g., Ex. K


In each of these circumstances, the City’s redactions of juvenile information would

prevent the parties and the Court from reviewing important indicators that evidence

suppression and fabrication were widespread phenomena within the CPD.

       Finally, beyond these particular examples of ways in which the City’s

redactions for juvenile information might cover up direct evidence of misconduct, they

also render the homicide files excessively difficult to interpret. Consider, for instance,



which is attached as Exhibit L.




                                                Without the ability to interview witnesses



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or take depositions regarding these files, Plaintiff has no means of filling in these

gaps or the countless others in the City’s Swiss-cheese production. And even if it were

possible to do so, reconstructing these reports imposes an excessive and unnecessary

burden on Plaintiff.

B.    The juvenile redactions are legally improper

      The City’s justification for these large-scale redactions—the Illinois Juvenile

Court Act—does not support its position. First, state-law prohibitions on disclosure

do not override federal law. Cf. Martinez v. City of Chicago, 2012 WL 1655953, at *1

(N.D. Ill. May 10, 2012) (noting that a state statute—the Illinois Freedom of

Information Act—did not dictate the confidentiality of information in federal

litigation). Any contention that a state statute limits this Court’s ability to order the

production of information in this federal-question case simply ignores that discovery

in this litigation is governed by the Federal Rules of Civil Procedure, not state statute.

      Second, the relevant provision of the Juvenile Court Act states that “[a]ll

juvenile law enforcement records which have not been expunged are confidential and

may never be disclosed to the general public or otherwise made widely available.” 705

ILCS 405/1-7(A). Marking the homicide files confidential, as the City has done, meets

this requirement. Nothing in the Act demands the further step of redacting

information that is protected from public disclosure by order of a federal court.

      Third, courts have repeatedly held that juvenile law enforcement records may

be properly disclosed in federal litigation when the parties have an interest in

reviewing those records. Brokaw v. Brokaw, 128 F. App’x 527, 530–31 (7th Cir. 2005);




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Chatman v. City of Chicago, No. 13 C 5697, 2014 WL 1813172, at *1 (N.D. Ill. May 5,

2014); Landon ex rel. Munici v. Oswego Unit Sch. Dist. #308, No. 00 C 1803, 2000 WL

33172933, at *1 (N.D. Ill. Feb. 13, 2000) (“As a defendant in a suit brought by plaintiff,

defendant is a “properly interested person” in inspecting the plaintiff's juvenile

records to enable defendant to defend against the suit when, in good faith, it believes

the records are relevant to the case.”).

C.    The protective order does not mandate these redactions

      In refusing to provide unredacted versions of these documents, counsel for the

City cited the protective order entered in this case, Ex. D at 1, but that order does not

excuse the extensive redactions in the City’s Monell production. First, by its own

terms, the protective order permits redactions only of “information covered by the

Juvenile Court Act,” dkt. 123 ¶ 5, which does not include information that the parties

in this case have an interest in reviewing, see Brokaw, 128 F. App’x at 530–31;

Chatman, 2014 WL 1813172, at *1; Landon, 2000 WL 33172933, at *1. Second, the

protective order did not contemplate the situation now before the Court: the parties

must analyze hundreds of homicide files to determine whether, on their face, they

contain indications that evidence was suppressed or fabricated. To the extent this

provision of the protective order would authorize redactions that make that task

impossible, it is overridden by the Court’s multiple orders authorizing this Monell

discovery   and   precluding    “reinvestigation”   that   might    allow   Plaintiff   to

independently ascertain the redacted information. Dkts. 153, 166. The only relevance

of the protective order to this dispute is that it permits the records to be designated




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confidential, resolving any concerns that might emanate from the Juvenile Court Act

and obviating the need for any redactions. Defendants’ objection based on the

protective order in this case therefore lacks merit.4

                                        Conclusion

        For the foregoing reasons, Plaintiff respectfully moves for an entry of an order

compelling Defendant City of Chicago to produce RD and investigative files

associated with the RD numbers listed in Exhibit A without redactions for

information pertaining to juveniles.



April 13, 2021                              Respectfully submitted,

                                            /s/ John Hazinski
                                            One of Plaintiff’s Attorneys
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4 The City also pointed to a motion filed in an unrelated case in which different attorneys at
Plaintiff’s counsel’s firm sought to limit the review of juvenile records to only relevant and
potentially admissible files. Ex. D at 1. Nothing in that motion contradicts Plaintiff’s request
in this case to obtain information relating to juveniles that is undisputedly relevant to the
Monell discovery the Court has ordered. Moreover, that motion concerned attempts to obtain
entire juvenile court records, not merely, as in this case, police reports in which juveniles’
names sometimes appear. Indeed, that motion simply reveals the City’s acknowledgment
that the Juvenile Court Act should not be a barrier to obtaining information in documents
that the Court has ordered the City to produce.


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                              Certificate of Service

      I, John Hazinski, an attorney, hereby certify that on April 13, 2021, I caused
the foregoing Plaintiff’s Motion to Compel Production of Monell Homicide Files
Without Improper Redactions and attachments thereto to be filed using the Court’s
CM/ECF system, which served the documents on all counsel of record.

                                      /s/ John Hazinski
                                      One of Plaintiff’s Attorneys




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